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                                                                       US DISTRICT CCJURT
                                                                  EASTERN .DISTRICT OF ARKANSAS
                       IN THE UNITED STATES DISTRICT COURT                    FILED
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION                              FEB 2 3 2016

UNITED STATES OF AMERICA                                                    ~.tW~l!FLERK
                                                                    JA~Es~c
v.                               Case No. 4:15-cr-00276-11 KGBBY.OEPlJTYCLERK - - -

BRENDA GREEN                                                                        DEFENDANT

                                            ORDER

       The Court conducted a hearing today as to defendant Brenda Green's anticipated plea.

Ms. Green tested presumptively positive for a narcotic drug or other controlled substance as

defined in 21 U.S.C. § 802, without a prescription from a licensed medical practitioner. The

Court will not proceed forward today with the anticipated plea. Instead, the Court modifies Ms.

Green's current conditions of pretrial release (Dkt. No. 67) to add the condition that she report

today to the Northeast Arkansas Regional Recovery Center (Crowley's Ridge Development

Council) for inpatient treatment. She remains under all other conditions of pretrial release (Dkt.

No. 67). The Court will reset a hearing in Ms. Green's anticipated plea, if appropriate.

       It is so ordered this 23rd day of February, 2016.



                                                    ~~,.~
                                                     "Stine G. Baker
                                                     United States District Judge
